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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,    )              CRIM. NO. 05-00490 HG
                             )
               Plaintiff,    )              ACCEPTANCE OF PLEA OF GUILTY,
     vs.                     )              ADJUDICATION OF GUILT AND NOTICE
                             )              OF SENTENCING
KEONI HYLTON,                )
                             )
               Defendant.    )
____________________________ )

                          ACCEPTANCE OF PLEA OF GUILTY,
                            ADJUDICATION OF GUILT AND
                               NOTICE OF SENTENCING
               Pursuant to the Report and Recommendation of the United

States       Magistrate    Judge,   to    which   there      has   been   no   timely

objection, the plea of guilty to Counts 2 and 5 of the Superseding

Indictment is now Accepted and the Defendant is Adjudged Guilty of

such offense.        All parties shall appear before this Court for

sentencing as directed.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, March 20, 2006.




                                         _____________________________
                                         Helen Gillmor
                                         Chief United States District Judge




GUILTY.ACP
